Case 3:23-cv-06261-JSC Document 1-1 Filed 12/04/23 Page 1 of 3




                   Exhibit
                             1
                                              Case 3:23-cv-06261-JSC Document 1-1 Filed 12/04/23 Page 2 of 3


    Channel Name                             Channel URL                                         Infringement URL                 Registration Status    Registration Certificate   Subscribers   Total Views

     4 Ever Green               https://www.youtube.com/@4EverGreenYT               https://www.youtube.com/watch?v=iAGdltBg_nY     Not Registered                                   3,100,000    771,000,000

     BUENISIMO                https://www.youtube.com/@BUENISIMOCANAL               https://www.youtube.com/watch?v=Irbpv-kBxSQ       Registered              PA 2-433-453           2,600,000    617,309,789

     BUENISIMO                https://www.youtube.com/@BUENISIMOCANAL              https://www.youtube.com/watch?v=nU6CtBI1W5s      Not Registered                                   2,600,000    617,309,789

     BUENISIMO                https://www.youtube.com/@BUENISIMOCANAL              https://www.youtube.com/watch?v=Z3HkOxN7DFM        Registered              PA 2-360-287           2,600,000    617,309,789

     BUENISIMO                https://www.youtube.com/@BUENISIMOCANAL               https://www.youtube.com/watch?v=nPSq0ivN-qg     Not Registered                                   2,600,000    617,309,789

     BUENISIMO                https://www.youtube.com/@BUENISIMOCANAL               https://www.youtube.com/watch?v=nPSq0ivN-qg     Not Registered                                   2,600,000    617,309,789

     DailyTop10s                 https://www.youtube.com/@GlobalLeaks              https://www.youtube.com/watch?v=QgFpvGJ4dcA      Not Registered                                    901,000     173,910,316

       Dblnews                     https://www.youtube.com/@dblnew                  https://www.youtube.com/watch?v=iBgmsc0tO80     Not Registered                                     5,760        900,000

   Dynamic Disaster            https://www.youtube.com/@dynamicdisaster             https://www.youtube.com/watch?v=SLjhGVsD2YY       Registered              PA 2-292-814            11,900        376,422

     Future Unity           https://www.youtube.com/@futureunity5129/videos        https://www.youtube.com/watch?v=hdNQJJK8Uhc        Registered              PA 2-246-408            912,000     432,319,337

     Future Unity           https://www.youtube.com/@futureunity5129/videos        https://www.youtube.com/watch?v=PadDmhFxa0g        Registered              PA 2-246-408            912,000     432,319,337

     Future Unity           https://www.youtube.com/@futureunity5129/videos        https://www.youtube.com/watch?v=Z8Lq1NIaVDE        Registered              PA 2-381-497            912,000     432,319,337

     Future Unity           https://www.youtube.com/@futureunity5129/videos        https://www.youtube.com/watch?v=_GxREdW74Uw      Not Registered                                    912,000     432,319,337

     Future Unity           https://www.youtube.com/@futureunity5129/videos         https://www.youtube.com/watch?v=lyEzjC8yNnM     Not Registered                                    912,000     432,319,337

       Lav Luka              https://www.youtube.com/watch?v=pM72ktBaKdo           https://www.youtube.com/watch?v=pM72ktBaKdo        Registered              PA 2-381-497            162,000      50,035,875

   Mind Warehouse              https://www.youtube.com/@mind_warehouse             https://www.youtube.com/watch?v=Ro19wdg7d5I    Awaiting Certificate                               8,350,000    1,999,779,445

   Mind Warehouse              https://www.youtube.com/@mind_warehouse             https://www.youtube.com/watch?v=LDBkx1me1Y8      Not Registered                                   8,350,000    1,999,779,445

   Mind Warehouse              https://www.youtube.com/@mind_warehouse             https://www.youtube.com/watch?v=VtFiZh6Qiww      Not Registered                                   8,350,000    1,999,779,445

   Mind Warehouse              https://www.youtube.com/@mind_warehouse              https://www.youtube.com/watch?v=6t3ccaKKBSY   Awaiting Certificate                               8,350,000    1,999,779,445

O CANAL DO OBSERVADOR         https://www.youtube.com/@canaldoobservador            https://www.youtube.com/watch?v=pAjqkFledIU       Registered              PA 2-388-958            204,000      46,514,987

O CANAL DO OBSERVADOR         https://www.youtube.com/@canaldoobservador            https://www.youtube.com/watch?v=3ekBAxKUi1c     Not Registered                                    204,000      46,514,987

O CANAL DO OBSERVADOR         https://www.youtube.com/@canaldoobservador           https://www.youtube.com/watch?v=zXmw2hhNsUw      Not Registered                                    204,000      46,514,987

O CANAL DO OBSERVADOR         https://www.youtube.com/@canaldoobservador           https://www.youtube.com/watch?v=48Gpw29FKVA        Registered              PA 2-342-661            204,000      46,514,987

O CANAL DO OBSERVADOR         https://www.youtube.com/@canaldoobservador           https://www.youtube.com/watch?v=V1DiVZbHmW0      Not Registered                                    204,000      46,514,987

O CANAL DO OBSERVADOR         https://www.youtube.com/@canaldoobservador           https://www.youtube.com/watch?v=48Gpw29FKVA        Registered              PA 2-339-957            204,000      46,514,987

O CANAL DO OBSERVADOR         https://www.youtube.com/@canaldoobservador           https://www.youtube.com/watch?v=vcH6Rkxpm8g      Not Registered                                    204,000      46,514,987

O CANAL DO OBSERVADOR         https://www.youtube.com/@canaldoobservador            https://www.youtube.com/watch?v=t4RuGtpbifQ     Not Registered                                    204,000      46,514,987

O CANAL DO OBSERVADOR   https://www.youtube.com/channel/UCfpntDhySfxLIlK6laEWc8w    https://www.youtube.com/watch?v=EjrbFYWYFg8       Registered              PA 2-414-448            204,000      46,514,987

         OTV                      https://www.youtube.com/@otvodisha               https://www.youtube.com/watch?v=8kJmGL2LvLg        Registered              PA 2-360-279           9,720,000    9,160,045,580
                                                Case 3:23-cv-06261-JSC Document 1-1 Filed 12/04/23 Page 3 of 3


             OTV                    https://www.youtube.com/@otvodisha         https://www.youtube.com/watch?v=a-7h1-Xt5Zk      Registered     PA 2-348-883   9,720,000   9,160,045,580

             OTV                    https://www.youtube.com/@otvodisha         https://www.youtube.com/watch?v=a-7h1-Xt5Zk      Registered     PA 2-339-957   9,720,000   9,160,045,580

             OTV                    https://www.youtube.com/@otvodisha         https://www.youtube.com/watch?v=a-7h1-Xt5Zk      Registered     PA 2-339-957   9,720,000   9,160,045,580

         The Beesleys             https://www.youtube.com/@TheBeesleys99      https://www.youtube.com/watch?v=G4WWUbVMxrU     Not Registered                  178,000      55,418,262

    The Ultimate Discovery       https://www.youtube.com/@ultimatediscovery    https://www.youtube.com/watch?v=-LmDEoggeZo      Registered     PA 2-436-825   357,000     124,831,759

    The Ultimate Discovery       https://www.youtube.com/@ultimatediscovery    https://www.youtube.com/watch?v=-LmDEoggeZo    Not Registered                  357,000     124,831,759

          Top Fives                  https://www.youtube.com/@topfives         https://www.youtube.com/watch?v=qQmpKgFurY0      Registered     PA 2-214-139   2,800,000   1,169,773,946

          Top Fives                  https://www.youtube.com/@topfives         https://www.youtube.com/watch?v=QzbJK3SNjbk    Not Registered                  2,800,000   1,169,773,946

WEWIN ES - Desastres Naturales    https://www.youtube.com/@wewinescanal        https://www.youtube.com/watch?v=yPevE4sv8YY      Registered     PA 2-354-516    8,580       6,434,261

WEWIN ES - Desastres Naturales    https://www.youtube.com/@wewinescanal       https://www.youtube.com/watch?v=N-c__MwT0aw     Not Registered                   8,580       6,434,261

WEWIN ES - Desastres Naturales    https://www.youtube.com/@wewinescanal        https://www.youtube.com/watch?v=ohxQ-i-CjVU    Not Registered                   8,580       6,434,261

WeWin ES -Desastres Naturales     https://www.youtube.com/@wewinescanal         https://www.youtube.com/watch?v=Sy_I3BBIlYo   Not Registered                   8,580       6,434,261

WEWIN ES -Desastres Naturales     https://www.youtube.com/@wewinescanal        https://www.youtube.com/watch?v=Z8i2Fmkv1gg      Registered     PA 2-181-876    8,580       6,434,261

          WEWIN PT                 https://www.youtube.com/@wewinbrasil        https://www.youtube.com/watch?v=apGMnlAA-Ls      Registered     PA 2-166-813    49,900      35,144,394

          WEWIN PT                 https://www.youtube.com/@wewinbrasil       https://www.youtube.com/watch?v=N1mrqn8QGlQ     Not Registered                   49,900      35,144,394

          WEWIN PT                 https://www.youtube.com/@wewinbrasil        https://www.youtube.com/watch?v=uBTWiAS5MJg    Not Registered                   49,900      35,144,394
